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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION (DAYTON)

SHAWN STANLEY                           : Case No. 3:17-cv-00099
REBECCA STANLEY,                        :
                                        : (Judge Walter H. Rice)
                            Plaintiffs, :
                                        :
vs.                                     :
                                        :
CITIMORTGAGE, INC.,                     :
                                        :
                           Defendant. :
______________________________________________________________________________

    CITIMORTGAGE, INC.’S RESPONSE TO PLAINTIFF[] SHAWN STANLEY’S
    NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF PLAINTIFF’S
          OBJECTION TO REPORT AND RECOMMENDATION (DOC. 21)
______________________________________________________________________________

       The Notice of Supplemental Authority filed by Plaintiff Shawn Stanley (“Stanley”) (Doc.

23) in support of his Objection to the Report and Recommendation (Doc. 21) (the “Objection”)

does not change the analysis. As set forth in CitiMortgage, Inc.’s (“CitiMortgage”) Response to

the Objection, the Court should overrule the Objection, adopt Magistrate Judge Newman’s

recommendation and dismiss Stanley’s complaint with prejudice.

       As an initial matter, the supplemental “authority” cited by Stanley, Sandalar v. Wells

Fargo Bank, N.A., Case No. 2017 U.S. Dist. LEXIS 187865 (M.D. Fla. Nov. 17, 2017), is not

binding authority. Moreover, the case is factually inapposite. The court in Sandaler specifically

noted that the plaintiff’s claims were based on loan modification applications submitted in

February 2014 and September 20, 2015, respectively, which were after the plaintiff answered the

foreclosure complaint. 2017 U.S. Dist. LEXIS 187865, at *18. The Sandalar court further noted

that while some of the plaintiff’s claims arose during the pendency of the foreclosure action,
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those claims were not compulsory, and the plaintiff had already brought them in a separate

lawsuit. Id. *19.

        CitiMortgage initiated the foreclosure action1 on April 9, 2015, making Stanley’s answer

due May 7, 2015. Unlike in Sandalar, by that time, as summarized below, Stanley’s claims were

ripe:

    Claim                                   Factual Premise                                   Date Accrued

Count One         Alleged dual tracking by initiating the Foreclosure Action April 9, 2015
- 12 C.F.R.       before reviewing the January 2015 loan modification
§1024.41          application. (Doc. 1, PageID 14-15).
Count Two         Alleged failure to acknowledge the loss mitigation January 12, 2015
 - 12 C.F.R.      application within 5 days of receipt of the January 7, 2015
§1024.41(b)       loan modification application. (Doc. 1, PageID 16-17)
(2)
Count Three       Alleged failure to provide notice of loss mitigation options February 7, 2015
– 12 C.F.R.       within 30 days of the January 7, 2015 loss mitigation
§1024.41(c)       application. (Doc. 1, PageID 18-19)
Count Four        Alleged failure to responds to Requests for Information January 2015
– 12 C.F.R.       submitted through the VA system beginning in January
§1024.36          2015. (Doc. 1, PageID 20-21 (paragraph 111-112)2
Count Seven       This claim is based on the alleged failure to properly process February 2015
- Breach of       loan modification applications both before, during and after
Contract          the Foreclosure Action


        The facts on which Stanley’s claims are based not only existed, they were well known to

him. In fact, by April 15, 2015, the VASail notes specifically mention that Stanley was aware of

the “unfair practices” of CitiMortgage. (Doc. 1 at Page ID 42). Because those claims were not

brought in the Foreclosure Action, they are barred by res judicata.




1
  CitiMortgage initiated a foreclosure action against Stanley in the Greene County Court of Common Pleas, Case
No. 2015-cv-0256 (the “Foreclosure Action”). Documents from the Foreclosure Action, including the final
judgment entered on September 17, 2015 (“Final Judgment”) were included in an appendix attached to
CitiMortgage’s Motion to Dismiss.
2
  As detailed in CitiMortgage’s Motion to Dismiss, this claim fails substantively for the separate and independent
reason that it was not sent to the location specifically designated by CitiMortgage for Requests for Information and
Notices of Error. (Doc. 10, PageID 152-153)

                                                         2
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        The court’s decision in Tanasi v. CitiMortgage, Inc., 2017 U.S. Dist. LEXIS 102684 (D.

Conn. 2017) is instructive. The court specifically addressed res judicata as it applied to claims

relating to CitiMortgage’s alleged failure to respond to loan modification applications. Like in

this case, the Tanasis specifically alleged that CitiMortgage failed to respond to their pending

applications and closed their applications without reviewing them. 2017 U.S. Dist. LEXIS

102684 at *46-47. Also, like in this case, the Tansis alleged that the actions were part of a

pattern or practice of conduct that began, by the Tanasis’ own admission, in 2009, before the

Foreclosure Action. The Tanasis specifically alleged that the defendants violated Regulation X’s

prohibition on “dual tracking.” Id. at *47. The Tanasi court specifically considered and rejected

some of the claims Stanley raises here:

        In their first cause of action, the Tanasis allege that CitiMortgage violated RESPA
        and Regulation X by failing to acknowledge or properly review loss mitigation
        applications * * *, by failing to respond to the Tanasis’ requests for information,
        mortgage modification applications * * *, and qualified written requests * * *,
        and by engaging in a pattern or practice of non-compliance with RESPA* * *.
        The claims concerning the Tanasis’ loss mitigation and mortgage modification
        applications must be dismissed under res judicata, because they ‘reasonably relate
        [to] execution of the note and mortgage, and the subsequent default.’ (internal
        citations omitted)3

        In rejecting the mortgage application processing claims, the court specifically explained

that “[i]f the Court found that CitiMortgage should have considered the Tansis’ mortgage

modification requests earlier, its ruling would call into question the state court’s judgment in the

Foreclosure Action. Those claims are too related to the Foreclosure Action for the Tanasis to




3
  While holding that claims related to the alleged improper processing of loan modification applications were barred,
the court did not dismiss the following aspects of the Tansis’ claims based upon res judicata: Count One, RESPA
claims concerning CitiMortgage’s response to the Tanasis’ request for information, qualified written requests, and
notices of error, as well as pattern or practice claims under RESPA; Count Two, negligence claims concerning
CitiMortgage’s failure to provide a single point of contact to the Tanasis, and solicitation of the Tanasis’ mortgage
modification applications. Id. at *51 n.4. However, as detailed in CitiMortgage’s Motion to Dismiss, all of
Stanley’s claims are subject to dismissal.

                                                         3
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raise them now.” Id. at *47-48. Because the Tanasi decision is better reasoned than the

Sandalar decision, the Court should follow Tanasi and overrule Stanley’s Objection.

       Specifically, as to the claims Stanley argues arose after CitiMortgage initiated the

Foreclosure Action (Counts Five and Six), those claims are premised on the contention that

CitiMortgage continued to handle the loan modification process poorly after the Foreclosure

Action began.     The fact that the claims arguably arose after CitiMortgage initiated the

Foreclosure Action does not mean that res judicata is inapplicable. These claims are intertwined

with Stanley’s other claims. And, if the Court would allow those actions to proceed, they would

undermine the final judgment in the Foreclosure Action. See, Chitwood v. McLemore, 1990 U.S.

App. LEXIS 9146, *7 (6th Cir. 1990).

       Finally, even if the Court determined that Counts Five and Six survived the motion to

dismiss on res judicata grounds, they fail substantively. As detailed in CitiMortgage’s Motion to

Dismiss (Doc. 10, PageID 149 – 153), under 12 C.F.R. §1024.41(i) a servicer is required only to

review a single complete loss mitigation application. A borrower, therefore, cannot bring an

action for a violation of the loss mitigation rules if he has previously availed himself of the loss

mitigation process. Brimm v. Wells Fargo Bank, N.A., 2016 U.S. Dist. LEXIS 83405 (E.D.

Mich. 2016). Here, CitiMortgage reviewed and denied Stanley’s loss mitigation application in

November 2014. (Doc. 10-1) and (Doc. 1, PageId 39) (“He stated that their capitalization

threshold is one reason why Citi has been unable to modify the loan. The loan to value cannot

exceed 150%. He stated the loan to value of this loan was exceeded by 2%. * * * Another

problem is that there is no change in circumstance since the forbearance was approved.”)

       For all the reasons stated, the Court should overrule Stanley’s Objection, adopt

Magistrate Judge Newman’s recommendation and dismiss Stanley’s Complaint with prejudice.



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                                                    Respectfully submitted,



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                                                    CitiMortgage, Inc.




                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 1st day of December, 2017, I electronically filed the
foregoing with the Clerk of this Court using the CM/ECF system which will send notification of
such filing to the following:

            Brian Flick – bflick@dannlaw.com


                                                   /s/ Kara A. Czanik
                                                   Kara A. Czanik (0075165)




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